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                                          EXHIBIT B
                                          No. 2021-48592

    CLINGMAN & HANGER MANAGEMENT §                   IN THE DISTRICT COURT
    ASSOCIATES, LLC, AS TRUSTEE OF THE §
    FURIE LITIGATION TRUST,             §
                                        §
           Plaintiff,                   §
                                        §
    v.                                  §
                                        §
    KAY RIECK, LARS DEGENHARDT, THEODOR §            HARRIS COUNTY, TEXAS
    VAN STEPHOUDT, DAVID HRYCK, REED §
    SMITH LLP, THOMAS E. HORD, MICHAEL §
    ANTHONY       NUNES,  STONE PIGMAN §
    WALTHER WITTMAN LLC, IN ITS OWN §
    CAPACITY AND AS SUCCESSOR BY MERGER §
    TO COGAN & PARTNERS LLP, DAVID §
    ELDER, BRUCE GANER, SIERRA PINE §
    RESOURCES INTERNATIONAL, INC. AND §
    HELENA ENERGY, LLC,                 §
                                        §
           Defendants.                  §            334TH JUDICIAL DISTRICT

                          NOTICE TO THE CLERK OF REMOVAL

         PLEASE TAKE NOTICE that the attached (“Exhibit 1”) Notice of Removal of Defendant

Stone Pigman Walther Wittmann L.L.C.1 removing this case to the United States District Court

for the Southern District of Texas, Houston Division, was filed on August 18, 2021. This notice

is being filed with the State Court under 28 U.S.C. § 1446(d) and FED. R. BANKR. P. 9027(c).

Under 28 U.S.C. § 1446(d) and FED. R. BANKR. P. 9027(c), the State Court shall proceed no further

unless this case is remanded.




1
 Plaintiff incorrectly named and mis-spelled Stone Pigman as “Stone Pigman Walther Wittman LLC, in its
own capacity and as successor by merger to Cogan & Partners LLP.” Stone Pigman Walther Wittmann
L.L.C. is not a “successor by merger to Cogan & Partners LLP” and cannot be sued in that capacity.


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                                              Respectfully submitted,

                                              /s/ George M. Kryder
                                              George M. Kryder
                                                State Bar No. 11742900
                                                gkryder@velaw.com
                                              Matthew W. Moran
                                                 State Bar No. 24002642
                                                 mmoran@velaw.com
                                              Jordan W. Leu
                                                 State Bar No. 24070139
                                                 jleu@velaw.com
                                              VINSON & ELKINS LLP
                                              2001 Ross Avenue, Suite 3900
                                              Dallas, Texas 75201
                                              Telephone: (214) 220-7700

                                              Patrick W. Mizell
                                               State Bar No. 14233980
                                               pmizell@velaw.com
                                              VINSON & ELKINS LLP
                                              1001 Fannin Street, Suite 2500
                                              Houston, Texas 77002-6760
                                              Telephone: (713) 758-2222

                                              Attorneys for Defendant
                                              Stone Pigman Walther Wittmann L.L.C.

                                CERTIFICATE OF SERVICE

        I certify that on August 18, 2021, a true and correct copy of the foregoing instrument was
served on all counsel of record in accordance with TEX. R. CIV. P. 21a. using the Court’s electronic
filing system and by email to:

       rcorn@corn-law.com
       bamini@aminillc.com
       asamet@aminillc.com

                                                     /s/ George M. Kryder
                                                     George M. Kryder




NOTICE TO THE CLERK OF REMOVAL – PAGE 2
